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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

US DOMINION, INC., et al.                     )
                                              )
      Plaintiffs                              )
                                              )
          v.                                  )        Cause No. 1:21-cv-00445-CJN
                                              )            Judge Carl J. Nichols
MY PILLOW, INC., and                          )
MICHAEL J. LINDELL,                           )
                                              )
      Defendants.                             )

                        DEFENDANT MICHAEL J. LINDELL’S
                        NOTICE IN LIEU OF FILING ANSWER

       PLEASE TAKE NOTICE that Defendant Michael J. Lindell (“Mr. Lindell”)

respectfully reserves the right to withhold its Answer until after (a) this Court’s ruling on

Defendant My Pillow, Inc.’s Motion for Modification of Memorandum Opinion and Order

(ECF No. 58) and Mr. Lindell’s joinder thereto (ECF No. 59) and (b) the Court of Appeals’

further action pursuant to Mr. Lindell’s Notice of Appeal (ECF No. 66). The Court of

Appeals has docketed the appeal and fixed deadlines for the filing of motions and other

mandatory submissions. Court of Appeals for the District of Columbia Circuit Case No. 21-

7103, Doc. No. 1914267.

       Mr. Lindell’s Answer is premature if the Court of Appeals now considers and

decides whether to reverse this Court’s denial of Mr. Lindell’s Motion To Dismiss.

Nonetheless, Mr. Lindell will file an Answer if this Court orders him to do so while

issues relating to the appeal are pending.

       Mr. Lindell will respond to Dominion’s Opposition to MyPillow’s Motion and Mr.

Lindell’s Joinder (ECF No. 72) and will await this Court’s decision thereon without
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prejudice or waiver of the principle that “[t]he filing of a notice of appeal . . . confers

jurisdiction on the court of appeals and divests the district court of its control over those

aspects of the case involved in the appeal.” Griggs v. Provident Consumer Discount Co.,

459 U.S. 56, 58 (1982).


Dated: September 24, 2021                     Respectfully submitted,

                                              /s/ Douglas A. Daniels
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                                              Counsel for Defendant Michael J. Lindell


                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument was served
upon all parties of record through the Court’s CM ECF system on September 24, 2021.



                                                  /s/ Douglas A. Daniels
                                                  Douglas A. Daniels


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